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AO 442 (Rev. 11111) Arrest Warrant



                                              UNITED STATES DISTRICT COURT
                                                                           for the

                                                                  District of Columbia


                        United States of America
                                    v.                                       )        Case: 1:23-mj-00033
                        Jeremy Christian      Harrison                       )        Assigned to: Judge Meriweather, Robin M.
                                                                             )
                                                                                      Assign Date: 2/8/20.23
                                                                             )        Description: COMPLAINT WI ARREST WARRANT
                                                                             )
                                                                             )
                                  Defendant


                                                               ARREST WARRANT
To:          Any authorized law enforcement officer


             YOU ARE COMMANDED                    to arrest and bring before a United States magistrate judge without unnecessary delay
(name o/person      to be arrested)     Jeremy Christian    Harrison
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment              o       Superseding Indictment       o    Information      o   Superseding Information                II Complaint
o     Probation Violation Petition                o   Supervised Release Violation Petition        o Violation       Notice         0 Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 17S2(a)( I) - Entering and Remaining in a Restricted Building or Grounds,
18 U.S.C. § I 7S2(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
40 U.S.C. § SI04(e)(2)(D) - Disorderly Conduct in a Capitol Building or Grounds, and
40 U.S.c. § SI04(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.

                                                                                                                      2023.02.08
                                                                                                                      12:36:05 -05'00'
Date:              02/08/2023
                                                                                                    Issuing officer's signature


City and state:                         Washington, D.C.
                                                                                                      Printed name and title


                                                                          Return

            This warrant was received on          (date)   ZIf> J ? J            , and the person was arrested on          (date)   ?/1/ l3
at   (city and Slate)bC-"liA I            FL
Date:      '1/1/23
                                                                                                   Arresting   officer's    Signature
